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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
______________________________________
                                       )
CAUSE OF ACTION INSTITUTE,             )
                                       )
            Plaintiff,                 )
                                       )
      v.                               ) Civil Action No. 18-1800 (APM)
                                       )
U.S. DEPARTMENT OF JUSTICE,            )
                                       )
            Defendant.                 )
______________________________________ )

            INTERIM NOTICE OF COMPLIANCE WITH COURT ORDER

       Defendant, the U.S. Department of Justice (“DOJ”), pursuant to the Court’s Order dated

April 25, 2019 (ECF No. 22), hereby provides notice of the current state of Defendant’s

compliance with the April 25, 2019, Order in this Freedom of Information Act (“FOIA”) case.

That Order required the following:

   1. Defendant shall, as soon as practicable, send a preservation notice to Ms. Flores directing
      her not to delete any official email that remains stored within her personal email account.

   2. Defendant shall coordinate with Ms. Flores to copy onto a portable thumb drive or some
      other storage device all emails stored within her personal email account, including those
      found in archived and deleted folders. Ms. Flores shall keep in her possession the copied
      emails until the court orders that they be searched.

   3. Defendant shall notify the court of its compliance with this order by no later than May 2,
      2019.

ECF No. 22 at 2-3.

       On April 26, 2019, Defendant, through undersigned counsel, contacted Ms. Isgur and

provider her with a copy of the April 25, 2019 Order. Defendant has also provided a formal

preservation notice to Ms. Isgur, along with instructions that she is to retain all official email she

possesses. Defendant has provided Ms. Isgur technical guidance on how to store her personal
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email on an external hard drive, which has been provided by Defendant and which Ms. Isgur is

to keep in her possession.

        As she attests in the attached affidavit, Ms. Isgur will not delete any official email in her

personal email account. Further, Ms. Isgur has begun the process of saving to the provided hard

drive the extensive contents of her personal email account, but because of the account’s large

size, Google has advised her that it will take several additional days for all the records to be

made available to her in a format by which they can be stored on an external hard drive. When

that transfer is complete, Ms. Isgur will provide notice to the Court via Defendant, and in all

events Defendant will provide the Court with an update no later than seven days from the date of

this Notice, if not sooner.

        Notwithstanding these substantial compliance efforts, Defendant respectfully objects to,

and asks this Court to consider clarifying, the scope of the preservation Order, which on its face

is overbroad and, as such, unduly infringes on Ms. Isgur’s personal privacy. As her declaration

notes, her Gmail account includes “over 15 years worth of personal emails.” Aff. ¶ 4. However,

Ms. Isgur’s relevant period of employment with the Department of Justice was from 2017

through early 2019. Id. ¶ 1. The Order, however, requires Ms. Isgur to preserve the entirety of

her personal e-mail without regard to any time or subject-matter limitations. Accordingly,

Defendant respectfully requests that the Court clarify its Order so as to require preservation of

emails only during the period when Ms. Isgur was employed at DOJ. Undersigned counsel

contacted counsel for Plaintiff and Plaintiff opposes such a clarification. Relatedly, Defendant

reserves its right to argue at a later date that some (or all) of the preserved e-mails are irrelevant

to, and/or outside the scope of, the present FOIA lawsuit. Defendant also reserves its right to




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oppose at a later date the search or production of any records contained in Ms. Isgur’s personal

email.

         These concerns and objections notwithstanding, Defendant respectfully submits that the

above actions demonstrate substantial compliance with the Court’s April 25, 2019 Order. As

noted, Defendant will submit to this Court a further notice no later than May 9, 2019.


                                      Respectfully submitted,

                                      JESSIE K. LIU, D.C. Bar. No. 472845
                                      United States Attorney

                                      DANIEL F. VAN HORN, D.C. Bar No. 924092
                                      Chief, Civil Division

                               By:     /s/ Christopher Hair
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